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           Go gle
           Auctions in Display Ads
           Bidding perspective
           Ads Data Science Summit Q2
           ajaybangla@ GTrade



           ConfIdent al + Proprletary




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           Team Introduction (Display Ads -> gTrade)
             • gTrade: Team in display ads responsible for managing display ad ecosystem
               dynamics (interface between advertisers and external publishers)
             • Comprises of data scientists, software engineers, product manager




                   amini@   nirmaljayaram@   ajaybangla@   loth@        amaan@           tlipus@




                                    )!.
          Google   haou@       liweiliu@      meihuixie@      pooyaj@   bbesson@   Confdental   Propnetary




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           Display ads ecosystem
                      Publishers
                                              z WSJ
          Exchanges
                        ik DoubleClick                      co.
                          Ad Exchange         rubicon    PROJECT
                                                                         PuibMatic

                                                                              criteo
                                         Google i> Display & Video 360
               Advertisers
                                   A      Ad Words
                                                                           -Apcocketfuel




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           Changing world of auctions
             • Google has always been a strong proponent of       Digital Ad Impression Share Among US Supply-Side
                                                                  Platforms(SSPs), by Auction Type,
               second-price auctions (search ads, later AdSense, %Decof2017   & March 20111
                                                                       total impressions analyzed by Getintent

               Adx, AdMob, ...)                                                                      19.1%
                                                                                                                                 23.9%

             • The outside world in the display ecosystem has
               moved further and further away from second
               pricing
             • Adx(and Admob)is now moving for a first price                                                                         %



               auction in July                                                                     Dec 20'17                 march 2018
                                                                                111 First-price auction               •Second-price auction
             • We'll discuss the market(ecosystem) background,                  •Fair SeCOnd-price auction             with anomalies

                                                                                 Note: represents activity on the Getintent platform, broader industry
                                                                                 metrics may vary
               market direction, reason for Adx moving to first                  Source: GetIntent April 30,2018
                                                                                 237.6                                                    mom eMarketer com

               pricing, development of the 1 p bidder,...
          Google                                                                                                            Confdental Propnetary




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           Second price (2P) auctions
                                                                                     Second-Price Auction
                                                                                     -    --,
            • Mechanism
               0 Highest bidder wins
                   o   Pays max(runner-up bid, floor)
            • Properties:
                                                                             204       100$       50$
                                                                                                        [  150$      ts. 250$ ,

                                                                                   (Sold to the purple gentleman for 200$

               O Incentive compatible (optimal bid = true value)
                   o   Maximizes welfare (allocates to buyers with highest values)
            • Bidding                                                                Clean second price auction

                   o   Trival bidding if advertiser knows the value of click/imp
                   o   Non trivial for other advertisers
                        • Auto bidding solutions such as HDMI.


                                                                                                         a s                        075

                                                                                                                  Bid (b)



          Google                                                                                                                  Confdental   Propnetary




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           2P auctions
            • Sellers: Exchanges are looking to exact more revenue but bridging the gap
              between winning bid and max(runnerup bid, floor)
                                                     Second-Price Auction
                                                                       I"




                                               {
                                               am&
                                                       100$     50$         150$   250$

                                                   (Sold to the purple gentleman for 200$ --j




                   o   Reserve floor optimization (RPO)




          Google                                                                                Confdental   Propnetary




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            Modified 2P auctions: Third Party Exchanges(3PE)
            • Multicall
               0 Dutch auction
                   o   Increase latency for user                                Winner
                                                                                found
                                                                                         Pay      $10



                                                                       No
                                                                       winner
                                                                                Winner
                                                                                found
                                                                                         Pay      $7



                                                                       No
                                                                       winner




          Google                                                                               Confdental   Propnetary




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            Modified 2P auctions: Third Party Exchanges(3PE)
            • Untruthful auctions: Is auctioneer cheating?
               0 Can buyers detect it?
                             - 2016-03             xbd-appnexus - 2016 03
                                                                            .4   le   2016-03




                             bid




          Google                                                                           Confident al c Propnetary




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           Header Bidding
            • Header bidding script                                 AC TECH ESSENTIALS


                   o   Get live bids from partners                  HEADER AUCTION

                   o   AdServe calls winning partner with floor=bid                      HEADER AUCTION


            • Auction of Auctions
                   o   Header auction 1P                               IlEADER



                   o   SSP auction 2P                              =I                     Al•
                   o   First price bid = clearing price
                   o   Inefficient!
            • SSP migrated to 1P auctions
                                                                                                                                   OSP



                                                                                                                                    AdPrafs




          Google                                                                                          Confdental +Propnetary




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                                          73548
                                                                                                                fAC:
           Project Poirot
             • Problem
                                                                                                   DoubleClick
                   o   DV360                                                                       Ad Exchange
                        • Buys cross exchanges
                        • Exchange neutral
                        • 50% spend is MaxCPM
                                                                        11* Dispray & Video 360   ubigpfj.
             • Poirot
                   1. Detects &quantifies deviations from 2P auctions                             Pub Matic
                   2. Optimizes bids based on the input from
                       framework in 1.




          Google                                                                                   Confdental   Propnetary




HIGHLY CONFIDENTIAL                                                                                     GOOG-D0J-AT-00585818

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                                                                                                   14C:
           Explore impact on surplus with bid shading
            • Max E[surplus]
                   o   E[surplus] = (value-cost)* P (bid)
            • Optimal bid
                   o   Second price: bid = value
                   o   Others: bid shading i.e. bid < value
            • Bid shading: bid =a * value
                   o   E[surplus(a)] = (value-cost) * P ,,(a*value)
                                                                               Bid lowering (a) i.e
                   o   In truthful 2P auctions a=1 max surplus
                   o   In 1P auction a=1 gives zero surplus
                   o   Run background expts to measure surplus
                        • Surplus = sum(value - cost)on al l winning queries
                        • Assumption: value = MaxCPM


          Google                                                                       Confide,14,Proprietary




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                                          73550
                                                                                  q&C:
           Optimal bid shading
             • Goal: Optimal bid shading for advertisers on
               different query segments.                       0
                                                               =
             • Model surplus as a function of bid shading.    1-1
                                                               Ct.




                                                                     Bid lowering (a) 1.0




          Google




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                                          73551
                                                                                                                (4C:
             Measured surplus vs Bid multiplier
                                                                     Optimal Bid Multiplier
                                                                      by reducing bid, we are saving
                                                                     advertisers money on the queries




                                                                                   No surplus gain:
                      ci                                                           Adx, Improve digital

                                               — Ad X                              Significant surplus gains:
                                                 OpenX                             Pubmatic, OpenX
                                               - Pubmatic
                                                 I mprove Dig[tal

                           0.6   0.7        0.8       0.9      1.0
          Google                       Bid Multiplier                                              Confdental   Propnetary




HIGHLY CONFIDENTIAL                                                                                     GOOG-D0J-AT-00585821

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           AdX announces move to Transparent 1 P auctions
                                                                                          GOOGLE'S AD MANAGER WILL
                                                                                          MOVE TO FIRST-PRICE
            Google Switches To First-Price
                                                                                          AUCTION
            Auction                                                                       The update will resonate across $48 billion
            by Sarah Sluis // Wednesday, March 6th, 2019- 5:33 pm
                                                                                          programmatic landscape
            Share:   13 n          ci
            Google will move to first-price auctions for
            Google Ad Manager, its publisher exchange and
            ad server, by the end 01 2010. At that time, it will
            also run a single, unified auction and remove last
            look, ceding a key advantage Google held In a
            second-price world.

            Google Ad Manager will be the last major
            exchange to switch to first-price auctions. Other
            exchanges tested or rolled out first-price
                                                                    The Unified Auction
            auctions starting in 2017,
         (=ogle                                                                                                                  Confdental Propnetary




HIGHLY CONFIDENTIAL                                                                                                                   GOOG-D0J-AT-00585822

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             For most publishers, we have been running implicit first-
             price auctions for many years
                       Line item 1   CPM = $2
                                                  • For every publisher using line items
                                                   (including header bidding) in DFP,
                       Line item 2   CPM = $1.5     first price auction is already a reality
                                                  • Line items CPMs are based on the
                                                    a mount of money publishers expect
                                                    to receive (akin to first price bids)
                       Line item N   CPM = $1




          Google                                                               Confdental   Propnetary




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           Adx competes in this implicit first price auction

                           Line item 1   CPM = $2
                                                              • Today, Adx competes through a
                                                                "last look setup" (i.e., if Adx bid > all
                                                                these LI CPMs, adx winner will
                           Line item 2   CPM = $1.5             serve)
                                                              • Last look has been viewed as unfair
                                                                by the market, and hence
                                                                u nsustainable
                           Line item N   CPM = $1
            Adwords

                                         floor = max of the
                           Adx           above LI CPMs
            Criteo    $1

          Google                                                                            Confdental   Propnetary




HIGHLY CONFIDENTIAL                                                                              GOOG-D0J-AT-00585824

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           Move to exchange bidding (Jedi)
            • Exchange bidding was designed as an explicit
              first price implementation that
                   o   Removes the sequential nature of the line-item auction
                   o   Compares live bids instead of expected bids

            • Should we let buyers decide where to bid?
                                                                                  Adx auction
                   o    Buyside: yes, we would like to control our own destiny   (second price)
                       (i.e., control the final bid into the Jedi auction)
                   o   Sellside: no, because if GDN moves,the Adx auction
                                                                                                  %ft
                                                                                                        4.
                       collapses                                                                    Adwords
                                                                                 Criteo
                                                                                                    DV360
            • A compromise was to continue to keep last
              look for Adx
          Google                                                                                             Confdental   Propnetary




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           But, we were forced to give up last look

                                                        • But, we were forced (by FAN and other
                            Jedi auction                  players) to give up last look within a year of
                           (first price)                  launching Jedi
                      $1                                • Adx needed to determine a bid to be
                                           Index          compared with Index's bid in a first price
              Adx auction                                 auction
             (second price)
                                $4
                                                        • The bid Adx uses is the second priced bid in
              $1
                                                          the Adx auction
             Criteo              Adwords                • Leads to scenarios where Adwords loses to
                                                          EB buyers simply because the highest
                                                          competitor's bid was not high enough!
          Google




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           The current state is unsustainable
             • The current setup put the buyers participating in the Adx auction in a
               competitive disadvantage when we gave up last look
             • There is market pressure to give up last look even outside Jedi
             • It is of paramount importance to let GDN and DBM to bid into the final first
               price auction
             • What happens to the Adx second price auction when GDN and DBM move out
               of it?
                   o The second-price path becomes very sparse, and whoever stays in this path wil l have a very
                     small chance of winning the final auction
                   o Sophisticated buyers l ike Criteo (who have already built the first price bidding technology to buy
                     on 3PE) wil l follow suit.
                   • Unsophisticated buyers will struggle and we need to decide what to do for them
          Google                                                                                           Confdental   Propnetary




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           Publishers configure Adx floors to be high

                                                        Jedi auction


                                                                                      ApAexus
                         Adx ($5)
                                                                                        ($0)




                                              Index ($3)               Rubicon ($2)



                   A lot of the 3PE incrementality comes from this floors setup


          Google                                                                           Confdental   Propnetary




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           AdX Ti P (Transparent 1 P) auction
            • Non transparent
               O Submit bids => Observe win or not.
            • Transparent
                   o Post auction every participant gets Highest Other Bid
                     (HOB)
                   o  No need to run exploration experiments to build the
                     competitive landscape
            • Fair access
               O No buyer specific floors.
                   o   No last look




          Google                                                             Confdental   Propnetary




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           DV360: Bidding into transparent 1 P auction




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           AdWords: Bidding into Ti P auction
            • AdWords internal auction: remains 2P                                AdX 1P
               o Advertisers & current auto bidding systems assume 2P auction     Auction

            • Problem
                                                                                 AdWords
               o  Objective: Maximize E[surplus]                                1P Bidder ,
               o Constraints
                   • E[payout] = 0.85* E[revenue] per publisher                        T

                                                                                AdWords 2P
                   • Incentive compatible                                        Auction




          Google                                                                Confdental   Propnetary




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           AdWords: Bidding into Ti P auction
            • 1P Bidder
                   o   vl and v2: top 2 Adwords 2P bids
                   o   1 p bid =      CDFH0B)
                         • f: max E[surplus]
                         • a: chosen to hit buy side margin
                   o   Cost = max(v2, fl(HOB)/a): min 2P bid to win since vl > v2 and f(avl)> HOB
                   o   Properties
                         • Incentive compatible
                         • Maximizes welfare for given spend




          Google                                                                                    Confdental   Propnetary




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           Timelines and Status
            • Timelines
                                           Ad Manager &         Ad Manager &
                         Announce             Admob              Admob full
                         (Mar'19)           experiments           migration
                                            Ma -Jun '19            Jul 19
            • Status
                   o   DV360
                        • Expts with optimal bidding based on lognormal model for pHOB
                   o   AdWords
                        • Starting experiments




          Google                                                                         Confdental   Propnetary




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          Google                                                       Confdental   Propnetary




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